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 4
                                  UNITED STATES DISTRICT COURT
 5                               WESTERN DISTRICT OF WASHINGTON
                                        TACOMA DIVISION
 6
     AMBER K. ROBERTS,                                    Civil No. 3:20-CV-05780-RSM
 7
              Plaintiff,
 8
              vs.                                         ORDER
 9
     COMMISSIONER OF SOCIAL SECURITY,
10
              Defendant.
11
              Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date shall be
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     amended as follows:
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              Defendant shall have up to and including February 8, 2021, to file a response to
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     Plaintiff’s Complaint, including the certified administrative record. If the certified administrative
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     record becomes available to the Office of the General Counsel before the aforementioned date,
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     the record may be filed earlier, if feasible.
17
              If the Commissioner is unable to file the certified administrative record by that date, the
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     Commissioner shall file another motion for extension every 28 days until the certified
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     administrative record becomes available.
20
              DATED this 11th day of January, 2021.
21

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23
                                                     A
                                                     RICARDO S. MARTINEZ
                                                     CHIEF UNITED STATES DISTRICT JUDGE
24

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 1
     Presented by:
 2
     s/ Lisa Goldoftas
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